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 7                         UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9                     (HONORABLE JANIS L. SAMMARTINO)
10
11   UNITED STATES OF AMERICA,                  CASE NO.: 21-cr-2226-JLS
12                      Plaintiff,              Hon. Janis L. Sammartino
13         v.                                   ORDER GRANTING JOINT
                                                MOTION TO CONTINUE MOTION
14   JEMIMA MENDEZ-LOPEZ,                       HEARING/TRIAL SETTING
15                      Defendant.
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17         GOOD CAUSE APPEARING, the parties’ Joint Motion to Continue the
18   Motion/Hearing Trial Setting from October 8, 2021 to December 3, 2021 at 1:30
19   p.m. is hereby GRANTED. For the reasons stated in the Parties’ joint motion, the
20   Court finds that time should be excluded under 18 U.S.C. §§ 3161(h)(1)(D) and
21   (h)(7)A), because there are pending motions and the continuance serves the ends of
22   justice and outweigh the public and Ms. Mendez-Lopez’s interests in a speedy trial.
23         IT IS SO ORDERED.
24   Dated: September 29, 2021
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